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UNITED STATES DISTRICTCOURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

FAVORITE HEALTHCARE
STAFFING, INC.

CIVIL ACTION NO.
Plaintiff,
Vv.

ATLANTIC DIAGNOSTIC

LABORATORIES, LLC COMPLAINT

Defendant

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INTRODUCTION

The Plaintiff, initiates this action in order to collect damages for monies owed for
i) the breach of an employment agency service contract for temporary health care
professional services rendered to Defendant Atlantic Diagnostic Laboratories, LLC at 16
different locations throughout Eastern Pennsylvania, ii) the recovery of the quantum
meruit value of said employment agency services delivered, received, and accepted .
and iii) the intentional interference with Plaintiff's contractual relationships with 15

temporary healthcare professionals.
PARTIES

1. Favorite Healthcare Staffing, Inc. (“Plaintiff and/or “Favorite Healthcare”) is a

corporation duly organized and operating pursuant to the laws of the State of Kansas
with a principal place of business in Overland Park, Kansas and is in the business of
providing qualified temporary health care personnel to hospitals, nursing homes, rest
homes and other medical facilities throughout the United States. Pursuant to Favorite

Healthcare's standard terms and conditions of service contracting parties have the
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option to transform temporary healthcare professionals provided by Favorite Healthcare
to permanent employees of the contracting party upon the payment of specified

employment agency fees.

2. Defendant, Atlantic Diagnostic Laboratories, LLC (" Atlantic Diagnostic " and/or

"Defendant") is a limited liability company duly organized and operating pursuant to the
laws of Pennsylvania with a principal place of business in Bensalem, Pennsylvania and
is in the business of managing and operating various laboratories providing services in

the healthcare industry.

JURISDICTION

3. This matter involves damages in excess of $75,000.00 arising from a dispute
between citizens of different states. Accordingly, this Court has jurisdiction pursuant to

28 U.S.C. § 1332.
4. Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

FACTUAL ALLEGATIONS

5. Between August 14, 2012 and December 10, 2012, favorite Healthcare provided
temporary health care professionals to Burlington Laboratories who operated and
managed laboratories for Rehab After Work at 16 different locations in Eastern
Pennsylvania ("16 Laboratories").

6. On or about December 10, 2012 Burlington Laboratories lost its contract to manage
and operate said 16 Laboratories and Atlantic Diagnostic assumed the management
and operating control of said 16 Laboratories. Atlantic Diagnostic requested Favorite
Healthcare to continue to provide said temporary health care professionals to Atlantic

Diagnostic at said 14 Laboratories. Prior to requesting Favorite Healthcare to continue
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to provide said temporary healthcare professionals, Atlantic Diagnostic was fully
informed of Favorite Healthcare’s standard terms and conditions of service. Atlantic
Laboratories received a copy of Favorite Healthcare's Supplemental Staffing Agreement
between Favorite Healthcare Staffing, Inc. and Atlantic Diagnostic Laboratories. A copy
of said contract is attached hereto and marked as Exhibit "A". Favorite Healthcare
agreed to continue to provide temporary healthcare professionals to Atlantic
Laboratories so that Atlantic Laboratories could manage and operate said 16
Laboratories. Atlantic Laboratories agreed, accepted and benefited from said valuable

services rendered by Favorite Healthcare.

7. Between December 11, 2012 and December 22, 2012 Favorite Healthcare provided
temporary healthcare professionals to Atlantic Diagnostic and Atlantic Diagnostic
accepted and benefited from Favorite Healthcare's provision of temporary healthcare
professionals pursuant to Favorite Healthcare's standard terms and conditions of

service and Exhibit "A".

8. Favorite Healthcare tendered 34 separate invoices requesting payment for services
rendered to Atlantic Laboratories and Atlantic Laboratories paid in full 25 of said 34
invoices. Said invoices all contained a reference to and incorporation of Favorite
Healthcare’s standard terms and conditions of service. Additionally, Atlantic Diagnostic
entered Favorite Healthcare’s website and reviewed Favorite Healthcare’s standard —
terms and conditions of service and Exhibit "A". Atlantic Diagnostic’s receipt of
continued temporary health care professional services from the Plaintiff, its payment for
services pursuant to the said 25 invoices and its online review of Favorite Healthcare’s
standard terms and conditions of service and Exhibit “A” are admissions of fact that
Atlantic Diagnostic has expressly or impliedly agreed to the terms and conditions
contained in Exhibit "A" and Favorite Healthcare’s standard terms and conditions of

service.

9. As of December 22, 2012 Favorite Healthcare, was providing 15 temporary

healthcare professionals to Atlantic Diagnostic pursuant to Favorite Healthcare's
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standard terms and conditions of service ("15 Favorite Healthcare Contractees"). All 15
temporary healthcare professionals had written independent contractor contracts with
Favorite Healthcare ("15 Favorite Healthcare Contractees"). On December 22, 2012
Atlantic Diagnostic informed the 15 Favorite Healthcare Contractees that Atlantic
Laboratories had terminated their contracts with Favorite Healthcare and that all said 15
Favorite Healthcare Contractees were now employees of Atlantic Diagnostic. At the
time Atlantic Laboratories "terminated" said 15 Favorite Healthcare Contractees
contracts with Favorite Healthcare, Atlantic Laboratories was fully informed of the
existence of the written contractual relationships between Favorite Healthcare and said
15 Favorite Healthcare Contractees. By terminating the contracts of said 15 Favorite
Healthcare Contractees, Atlantic Diagnostic intentionally interfered with the contractual
relationships between Favorite Healthcare and said 15 Favorite Healthcare

Contractees.

10. Atlantic Diagnostic’s hiring of the 15 Favorite Healthcare Contractees directly
benefited, Atlantic Diagnostic as said hirings allowed Atlantic Diagnostic to fulfill its
management contract for said 16 Laboratories. As a result, Atlantic Diagnostic has
received and accepted a substantial benefit from Favorite Healthcare, without paying for
the same. The fair market value of the employment agency services rendered to and
accepted by the Atlantic Diagnostic is $89,593. Despite demand, the Defendant has
failed to pay to the Plaintiff the fair market value of the employment agency services
rendered to and accepted by the Defendant. A copy of the invoice tendered to Atlantic
Diagnostic for said employment agency services is attached hereto and marked as
Exhibit “B”.

11. Atlantic Diagnostic has failed to pay A) $2,920.15 for the remaining outstanding
balance on 9 invoices and B) the $89,593 outstanding balance on Exhibit "B".
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COUNT |
(BREACH OF CONTRACT v. ATLANTIC DIAGNOSTIC)

12. Plaintiff restates and incorporates by reference the allegations contained in

paragraphs 1 through 11 above.

13. Atlantic Diagnostic by failing to pay the Plaintiff $92,513 has breached the terms
and conditions of both the invoices tendered and Exhibit "A".

14. Asaresult of said breach, the Defendant owes the Plaintiff $92,513 and further
accrued interest and attorney's fees in an amount to be established at trial of this

matter.

COUNT Il
(QUANTUM MERUIT v. ATLANTIC DIAGNOSTIC)

15. Plaintiff restates and incorporates by reference the allegations contained in

paragraphs 1 through 14, above.

16. The fair market value of the employment agency services provided to and
accepted by the Defendant is equal to or in excess of $89,593.

17. Asa result of the Plaintiff's provision of employment agency services to the
Defendant, the Defendant has received a material benefit and is obligated to Plaintiff in
the amount of $89,593.
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COUNT III
(INTENTIONAL INTERFERENCE WITH CONTRACTUAL RELATIONS
v. ATLANTIC DIAGNOSTIC)

18. Plaintiff restates and incorporates by reference the allegations contained in

paragraphs 1 through 17, above.

19. Atlantic Diagnostic knowingly, intentionally interfered with Plaintiff's contractual

relations with the 15 Favorite Healthcare Contractees.

20. Asa result of said intentional interference, Plaintiff has suffered damages in an

amount to be established in the trial of this matter.

PRAYERS FOR RELIEF

WHEREFORE, the Plaintiff respectfully prays that:

1) Pursuant to Count I, this Court enter Judgment against the Defendant Atlantic
Diagnostic in the amount of $92,513 plus interest, costs, and attorneys’ fees and that

execution or other appropriate process issue for the enforcement of same; and

2) Pursuant to Count I, this Court enter Judgment against the Defendant Northern
Berkshire Healthcare in the amount of $89,593 plus interest, costs, and attorneys’ fees

and that execution or other appropriate process issue for the enforcement of same; and

3) Pursuant to Count III, this Court enter Judgment against the Defendant Northern
Berkshire Healthcare in an amount to be established through the trial of Plaintiff's claims
as set forth in Count Ill and that execution or other appropriate process issue for the

enforcement of same; and
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4) For any such other and further relief as this Court deems just and proper.

Respectfully submitted, this neST coy of February, 2013.

The Plaintiff,
Favorite Healthcare
Staffing, Inc.

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Davit yf Noonan, Esquire Robert M. Morris, Esq.

228 Pfiangle Street Morris & Adelman, P.C.
Amherst, MA 01002 . 201 N. Presidential Blvd., S/100
Tel. (413) 549-5491 P.O. Box 2235

Fax. (413) 549-5156 Bala Cynwyd, PA 19004
noonan@law-din.com Tel. (215) 568-5621

BBO #: 373260 Fax: (215) 568-3253

rmmorris@morrisadelman.com
PA# 67896

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EXHIBIT “A’
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SUPPLEMENTAL STAFFING AGREEMENT
FAVORITE HEALTHCARE STAFFING, INC.
and
Atlantic Diagnostic Laboratories

The purpose of this Agreement is to define the relationship and respective responsibilities between
Atlantic Diagnostic Laboratories (hereafter CLIENT) and FAVORITE HEALTHCARE STAFFING, INC.
(hereafter FAVORITE) allowing FAVORITE to provide qualified temporary health care personnel
(hereafter THP) for the benefit and well-being of the CLIENT’s patients. The following is therefore
mutually agreed: to

|. TERM OF AGREEMENT

This agreement is made and shall commence on 12/8/2012 and may be terminated with written notice by
either party except that the agreement shall remain in effect with respect to and until the end date of any
TRAVELER assignment made by CONFIRMATION pursuant to this agreement. .

Hl. DEFINITIONS

THP is a temporary healthcare professional working as an employee of Favorite on assignment at Client.
For services performed by THP under Favorite’s employment, Favorite is responsible for the payment of
wages-to THP and for the withholding of applicable federal, state, and focal income taxes, the making of

required Social Security tax contributions, and the meeting of all other statutory employer responsibilities
(including, but not limited to, unemployment and worker's compensation insurance, payroll excise taxes,

ect.). ,

PER DIEM THP is any THP not regarded as a TRAVELER under this agreement.

TRAVELER is any THP. provided by FAVORITE for whom a CONFIRMATION of terms of an assignment
of not less than 4 weeks in duration has been made by CLIENT.

CONFIRMATION is the CLIENT’s written acceptance of a particular TRAVELER to fill a specific CLIENT
need. :

lll. RESPONSIBILITIES OF FAVORITE

' -. Provide services in conformance with all Joint Commission standards applicable to Health Care
Staffing Services.

e Provide service coordinator staff on a 24 hour per day, 365 day per year basis to receive and
process service requests and changes.

e Match CLIENT service requests with THPs who are properly screened and qualified in
accordance with our Standard Hiring Practices (Exhibit A).

7255 W. 98" TERRACE-BLDG.5, SUITE 150 @ OVERLAND PARK, KS 66212-2215 @ PHONE (913) 383-9733 @ FAX (913) 383-9892
www. favoritestaffing.com

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e Provide CLIENT, upon request, with documentation of the skills and qualifications of assigned
personnel, either via e-mail or facsimile.

e Instruct THPs to always carry on their person an original license, evidence of current CPR and
any applicable specialty certifications, for immediate client inspection.

e Assume sole responsibility as the employer of record for the payment of wages to THPs and for
the withholding of applicable federal, state and local income taxes, the making of required Social
Security tax contributions, and the meeting of ail other statutory employer responsibilities
(including, but not limited to, unemployment and worker’s compensation insurance, payroll excise
taxes, etc.). |

e Comply with all other applicable federal, state, and local laws governing the employer/employee
relationship (including, but not limited to wage and hours laws, the Family Medical Leave Aci, and -
the Health Insurance Portability and Accountability Act of 1996 [HIPAA)).

e Maintain a system documenting, tracking, and reporting unexpected incidents, including errors,
unanticipated deaths and other events, injuries, and safety hazards relating to the care and
services provided. (It is the Clients’ responsibility to promptly notify Favorite Healthcare Staffing
within 24 hours of when an incident occurs. Upon notification, Favorite Healthcare Staffing will
then implement incident tracking/resolution processes and communicate with the client as
needed.) Client may be required to provide written documentation to Favorite to facilitate the
investigation and potential corrective actions of incidents. Depending on the severity of the
incident; Favorite will also have our Risk Oversight Committee review and make
recommendations.

e Maintain general liability insurance and professional liability insurance with limits equal to or
greater than $1,000,000 per occurrence and $3,000,000 aggregate and to provide certificates of
insurance.

e Not use-subcontractors in the usual course of providing staffing services. Subcontracting is only
utilized pursuant to management services agreemenis.

e Not discriminate in employment with respect to race, religion, sex, creed, disability or national
origin in compliance with all applicable laws including Title VIL of the Civil Rights Acts of 1964, or
any of its amendments, and the Americans with Disabilities Act.

e Comply with Section 1861(v) of the Social Security Act, and, therefore, for a period of four years,

make available upon written request such books, documents and records as are necessary to
certify the nature and extent of the cost of providing services.

IV. RESPONSIBILITIES OF CLIENT

e Make final determination of the suitability of THP documented competencies and experience as
presented by FAVORITE for the designated assignment.

e Provide orientation which, at minimum, includes the review of policies and procedures regarding
medication administration, documentation procedures, patient rights, Infection Control, and Fire
and Safety.

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Healthcare Staffing, Inc.

e Manage FAVORITE’s THPs consistent with CLIENT’s own policies and procedures and address
any incident consistent with those policies and procedures. Promptly notify (within 24 hours)
Favorite Healthcare Staffing, Inc. of any unexpected incidents, errors and sentinel events that
involve THPs and of any occupational safety hazards or events that involve THPs.

e Recognize FAVORITE’s policy regarding the floating of staff whereby THPs are instructed not to
accept a floating assignment if they do not have the skills required to perform a competent level
of care.

e Assist FAVORITE with the periodic evaluation of THP job performance.

e Promptly (within 24 hours) notify FAVORITE of any unsatisfactory job performance or action
taken to terminate the services of a THP due to incompetence, negligence, or misconduct. In
such event CLIENT shail only be obligated to compensate FAVORITE for actual THP time
worked.

* Provide at least two hours notice of any cancellation of assignment or accept responsibility for
payment of two hours of service at the applicable rate.

e Timely and accurately approve an appropriate employee assignment record, sign-in-sheet, etc.

reflecting the actual net time (i.e. excluding meal breaks, etc.) worked by THP. If the client
requires the THP to provide additional information such as nursing notes, narratives, etc., the
client approval acknowledges the receipt of such additional information.

e Inthe event CLIENT finds it necessary to terminate a TRAVELER’s assignment, for no fault of
FAVORITE or TRAVELER, the CLIENT shall reimburse FAVORITE for all contractual obligations
for transportation and housing incurred as a result of FAVORITE’s placement of TRAVELER with
CLIENT.

e Remit payment for services upon receipt of invoice. In the event the client questions any
amounts invoiced, an explanation of any items in question must be received by FAVORITE’s
Accounts Receivable department within 15 days. This notification must be made by one of the
following means:

e By telephone: 1 (800) 676 - 3456

e = By fax: 1 (888) 870 — 6526

e By e-mail: accountsreceivable@favoritestaffing.com
e

By U.S. Mail to: Favorite Healthcare Staffing, Inc.
Atin.: Accounts Receivable
7255 W. 98" Terr., Suite 150
Overland Park, Kansas. 66212

* Pay interest equal to 1.5% per month plus cost and disbursements, including reasonable attorney
and/or collection fees, incurred in the collection of the client's account in the event client fails to
remit payment within 30 days from the invoice date.

Direct Hire & Temp To Perm Fees: These terms shall apply unless this right is specifically protected in
accordance with state and/or local law. The direct hire fee shall be equal to the following percent of the
candidate’s first year’s annualized salary for any candidate presented to Client by Favorite who accepts a
position with any clinic, group, healthcare facility or organization owned, operated, or affiliated with.Client

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whether or not in Client’s actual local community. Salary amount will be listed on the employment letter
for the candidate; a copy of this letter will be provided to Favorite.

Job Specification Direct Hire Fee
Staff Position 18%
Mid Level: Supervisory . 20%
Executive Level: Management/Director 25%

Client agrees to make payment to Favorite in the following manner:
¢ Client will be invoiced upon confirmation of placement for each candidate.
e Full payment of the direct hire fee will be due to Favorite within thirty (30)-days of the invoice
date.

Direct Hire Guarantee:

In the unlikely event that the client is unsatisfied with a candidate provided by Favorite prior to completion
of ninety (90) days of the start date the client may choose to end the candidate’s employment, resulting in
a credit on a replacement as follows:

0 — 30 days 100% credit
31-60 days 50% credit
61 — 90 days 25% credit

a. No replacement will be offered in the event of layoff, a substantial change in the original job
description, or elimination of the position.

b. Credits may be used immediately or within twelve (12) months beginning at the termination date.
A credit may be used for the original candidate search; any deviation from this will need to be
approved in advance by Favorite.

Temp to Perm option:

A Temp to Perm position will include a temporary hourly bill rate and a reduced permanent placement
(conversion) fee upon the successful completion of the temporary portion of the assignment based on the
fee schedule as shown below. Full payment.of the placement fee is due within 30 days of the Temporary
Healthcare Professional's start date as an ‘employee’ of the client.

0 — 520 hours: 18% of the employee’s 1“ year’s annualized salary
521 — 1040 hours: 10% of the employee's 1“ year’s annualized salary
1041+ hours: No additional fee

Additionally, the Temporary Healthcare Professional will complete the work assignment during the no hire
period unless this right is specifically protected in accordance with state and/or local law. Client agrees
that if during the first 1040 hours of work completed, the Temporary Healthcare Professional transitions to
‘a competitor of Favorite or ‘employee’ status with client or its affiliates; (i.e. flipping) it will result in a
placement fee payable to Favorite Healthcare Staffing, Inc. as outlined above.

V. COMPLAINTS/GRIEVANCES

If CLIENT is unable to resolve a problem or complaint at the branch or department level, CLIENT may file
an internal complaint. A copy of our Client Grievance Policy is available on our website at

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www. favoritestaffing.com (under “The Favorite Choice”, Clients, Standard Practices) or by calling our
corporate office at 800-676-3456. CLIENT may submit a grievance in writing to the corporate office by
mail or by email to favoriteiobs@favoritestaffing.com.

JOINT COMMISSION

The Joint Commission standards under which Favorite is certified relate to quality and safety of care
issues as impacted by Favorite’s temporary healthcare professionals. Anyone believing that he or she
has pertinent and valid concerns about such matters should report these to the management of Favorite
Healthcare Staffing either at the branch office or the corporate office (please see our web site at

www. favoritestaffing.com for contact information). If the concerns cannot be resolved through Favorite,
the individual is encouraged to contact The Joint Commission.

Phone: 800-994-6610
E-Mail: complaint@jointcommission.org -
Mail: . Office of Quality Monitoring

The Joint Commission
One Renaissance Boulevard
Oakbrook Terrace, IL.60181
Fax: 630-792-5636
Online: www.jointcommission.org

VI. FEE SCHEDULE

Specific fees for PER DIEM and/or TRAVELER THP services are those rates stated in Exhibit B and are
subject to change with written notice.

Vil. NOTICE

Any notice required by this contract shall be delivered via first class U. S. mail or via facsimile to:

A. jn the event of notice to CLIENT to the following address:

Attn: Chris Metz,
Client: Atlantic Diagnostic Laboratories
Address: 3520 Progress Drive
City, State, Zip: Bensalem, PA-19020
Facsimile #:
B. in the event of notice to FAVORITE to the following address:

Attn: Contracts and Rates Administration
Favorite Healthcare Staffing, Inc.

7255 W. 98th Terrace, Suite 150
Overland Park, KS 66212

Facsimile #: (888) 870-6530

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Address for notice may be changed, from time to time, by either party upon written notice.

VII. MISCELLANEOUS

4. The terms herein stated represent the total Agreement between FAVORITE and CLIENT and this
, Agreement may not be changed or modified orally.

2. This Agreement may be modified or amended by mutual written Agreement and supersedes all
prior Agreements of the parties.

3. This Agreement shall be governed by the laws of the State of Kansas. .

AGREEMENT SIGNATURES:

Favorite Healthcare Staffing Atlantic Diagnostic Laboratories
96
By: . , By:
Name:
Date:
Please Print
Title:
Date:

Authorized Signatures:

Kathleen A. Perry, RN, MBA, President
Debra MacLeod, RN, Vice President
Cathy Vollmer, RN, BSN, Vice President
Stephanie Render, MS, Vice President
Fran Coleman, Contracts & Rates Senior
Administrator

‘Gerhard J. Kuti, CEO

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EXHIBIT A
Standard Hiring Practices

The following documentation is collected and retained in the personnel file:

LICENSE VERIFICATION/COPY: The employee’s license/certification verified with the state, unless the state does not offer
verification. In addition, a copy of the license/certification is made in those states still providing paper license/certification copies.

CERTIFICATIONS: Copies of a current C.P.R. card and other certifications (ACLS, PALS, etc.) as required.
SKILLS INVENTORY: A comprehensive skills inventory appropriate to job classification and age-specific self-assessment.
PICTURE IDENTIFICATION: A photo I:D. froma reliable source.

PRE-EMPLOYMENT DRUG SCREENING: All applicants are subjected to a 10 panel drug screen and otherwise tested in
accordance with applicable regulatory requirements.

CRIMINAL BACKGROUND INVESTIGATION: All applicants are checked in a manner compliant with the requirements of our
clients and always in accordance with government regulations.

OIG/GSA: Automatically checked on all new hires and then approximately every 3 months thereafter.
1-9: Documentation and verification upon Pre-employment.
EDUCATION: Documentation of Education associated with profession/class. (We accept if it is documented on the application)

WORK HISTORY: Documentation of work history associated with profession/class. (We accept if it is documented on.the
application)

ANNUAL TRAINING AND ORIENTATION: Evidence of a yearly review of Fire & Safety, Infection Control, Hazardous Waste,
Joint Commission Patient Safety Goals and OSHA and HIPAA Privacy and Security standards is required of all Favorite
Healthcare Staffing, Inc. employees.

REFERENCES: At least two satisfactory written or verbal references verifying work performance in applicable clinical areas.

HEALTH/TB TEST: Pre-employment health statement by a physician, physician's assistant or nurse practitioner. Upon hire and
annually, TB within the past year/or TB questionnaire and current clear chest x-ray.. Other specific health requirements as
directed by client or state health guidelines. Each applicant must have received the Hepatitis B vaccination series or have
provided a declination.

TESTING: Documentation of applicants’ competency tests for most clinical staffing areas. A passing grade of 80 percent or
better must be obtained. Certain specialty areas and paraprofessional testing may be replaced with client interview or other
evaluation.

c

Interview, Placement and Orientation:

* Prospective employees are interviewed by the branch director or designee. During the interview, emphasis is placed
upon work history, clinical expertise and review of the testing results.

e Information is provided to applicants regarding performance requirements, Favorite's policies and procedures and, in
many cases, specific policies and procedures of client institutions.

* The assignment of employees is made with consideration for the skills and expertise of the employee, the needs of the
client and ultimately the‘client’s acceptance of the suitability of the employee to perform the duties of the assignment..

e Favorite Healthcare Staffing, Inc. assists its client institutions, as requested, with implementation of their orientation
policies and procedures.

Last Revised 04-2-12

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12/11/2012 EXHIBIT B- PER DIEM - FOR SUPPLEMENTAL
STAFFING AGREEMENT DATED 12/11/2012
Atlantic Diagnostic Laboratories

Chris Metz

3520 Progress Drive

Bensalem, PA 19020

Effective 12/8/2012 the following hourly billing rates will take effect for Atlantic Diagnostic Laboratories. Rates are subject
to change with a written notice. —

Client will sign a rate confirmation for each Temp that is placed. Hourly rate is based on each individual Temp.
Mark up on the pay rate will be 50%.

Work week begins Saturday at 7:00 AM.

The following holidays will be charged at 1.5 times regular rate:
HOLIDAY
New Year's Day; Memorial Day; July 4th; Labor Day; Thanksgiving Day; Christmas Day

SHIFTS
7-3, 3-11, 11-7

The above rates include all payroll expenses, taxes, liability insurance, worker's compensation and bonding.
Minimum billing rate once supplemental personnel have started to work is 4.00 hours.

Overtime rates will apply as indicated by local labor statute.

Overtime
Over___ Hours Day/Week/Bi-Weekly Billat___ of the Regular Applicable State
Hourly Rate
40.00 Ww 1.50 All
8.00 Day 1.50 California
12.00 Day 2.00 California
12.00 Day 1.50 Colorado

Please review our Standard Terms and Conditions of Service and Standard Hiring Practices at www.favoritestaffing.com
as they may change from time to time.

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Atlantic Diagnostic. Laboratories Loc. 96

7255 W. 98" TERRACE-BLDG.5, SUITE 150 @ OVERLAND PARK, KS 66212-2215 @ PHONE (913) 383-9733 FAX (913) 383-9892
www favoritestaffing.com

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Tina Clayton

eee ane EE

From: Desirae Sutton

Sent: Monday, January 07, 2013 11:59 AM

To: Desirae Sutton

Subject: FW: cmetz@adllab.net has viewed the signature request email for Atlantic Diagnostic
Laboratories

Attachments: Atlantic Diagnostic Laboratories - unsigned.pdf

Desirae Sutton

Contracts & Rates Administration Manager
Favorite Healthcare Staffing, Inc.

Direct Line: 913-800-7063 Fax: 888-870-6530
800-676-3456 (Ext. 7063)

Email: dsutton@favoritestaffing.com

From: Desirae Sutton

Sent: Monday, January 07, 2013 11:29 AM

To: Christopher Brink; Cathy Vollmer

Cc: Desirae Sutton ,

Subject: FW: cmetz@adil lab.net has viewed the signature request email for Atlantic Diagnostic Laboratories

Here’s the email showing they viewed the signature request.

Desirae Sutton

Contracts & Rates Administration Manager
Favorite Healthcare Staffing, Inc.

Direct Line: 913-800-7063 Fax: 888-870-6530
800-676-3456 (Ext. 7063)

Email: dsutton@ favoritestaffing.com

From: Kathy Rush

Sent: Monday, January 07, 2013 11:28 AM

To: Desirae Sutton

Subject: FW: cmetz@acdilab.net has viewed the signature request email for Atlantic Diagnostic Laboratories

Case 2:13-cv-00980-AB Document1 Filed 02/22/13 Page 18 of 20

From: EchoSign [7122 SIG? ict
Sent: Wednesday, C December 12, 2012 1: 18 PM
To: Kathy Rush

Subject: cmec ¢ has viewed the signature request email for Atlantic Diagnostic Laboratories
ix]
ony
Elda The signature request email
for Atlantic Diagnostic
Laboratories has been
viewed by
E i Hoan
cmetz@adilab.net!
6 When cmetz@adilab.net eSigns the Atlantic
Diagnostic Laboratories, the agreement will
be sent to Cathy Vollmer. When all
participants have completed the Atlantic
Diagnostic Laboratories, all parties will receive -
a final PDF copy by email.
You can always Login te EchoSien to:
e Check the status of this document
[| e Set up a reminder informing another party that
you are waiting for their signature.
[x] e Share your agreements with a colleague

To ensure that you continue receiving our emails, please add echosign@echosign.com to your address book or safe list.

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EXHIBIT “B"
Case 2:13-cv-00980-AB

P.O. Box 803356
KANSAS CITY, MISSOURI 64180

BILL TO:

Atlantic Diagnostic Laboratories
Attn: Chris Metz

3520 Progress Drive

Bensalem, PA 19020

Invoice Number: 258

Account Number:

4850300

Billing Date: 1/04/13

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Make all checks payable to: Favorite Healthcare Staffing, INC.

If you have any questions concerning this invoice, please call Tina Clayton, 800-676-3456 or e-mail

THANK YOU FOR YOUR BUSINESS!

Service Date Emp. ID # Employee Name Class Shift | Direct Hire Fee
1/3/2013 309936 Julie Perez COL $6926.40
1/3/2013 203169 Melonie Burroughs COL $6177.60
1/3/2013 311038 Triana Daniels COL $6177.60
1/3/2013 278429 Nicola Smith COL $6177.60
1/3/2013 310332 Beverly Bailey COL $5896.68
1/3/2013 310496 Patty Buckwalter COL $5896.68
1/3/2013 309599 Jerry Carter coL $5896.68
1/3/2013 310168 Bernadette Gray-Townsend COL $5896.68
1/3/2013 310392 Hattisha Rogers COL $5896.68
1/3/2013 230633 Michelle McClendon CoOL $5896.68
1/3/2013 267470 Shurika Brown COL $5803.20
1/3/2013 306222 Erica Moore COL $5803.20
1/3/2013 306516 Leorinda Mincey COL $5728.32
1/3/2013 390127 Ann Rivera COL $5709.60
1/3/2013 280267 Barbara Dale COL $5709.60
$89,593.20

